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U.S. DISTRICT COURT

FOR THE

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USDC EASTERN DISTRICT OF LOUISIANA

VIRGINIA HUNTER, et al. ) Case No. 10-125]
_. N(6)
Plaintiff(s) )
)
VS. )
)
REDMAN HOMES INC. )
(f/k/a Dutch Homes) )
)
Defendant(s). )

SUGGESTION OF BANKRUPTCY

PLEASE TAKE NOTICE that on the 15" day of November, 2009, the United
States Bankruptcy Court for the District of Delaware entered an Order for Relief under Title 11

of Chapter 11 of the United States Code in the matters of In re Champion Enterprises, Inc. and its

affiliated companies, including Redman Homes Inc. (f/k/a Dutch Homes), a defendant in this

case (collectively the “Debtors”) jointly administered at Case No. 09-14019 (KG). A copy of the

voluntary petition for Redman Homes Inc. (f/k/a Dutch Homes) is attached hereto.

PLEASE TAKE FURTHER NOTICE that pursuant to 11 U.S.C. § 362(a), the

Debtors’ filing of voluntary petitions operates as a stay, applicable to all entities, of, among other

things: (a) the commencement or continuation of all judicial, administrative, or other actions or

proceedings against the Debtors (i) that were or could have been commenced before the

commencement of the Debtors’ cases or (ii) to recover any claims against the Debtors that arose
Fee —
Process —___—-

—~CrRmDep _—_—

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before the commencement of the Debtors’ cases; (b) the enforcement, against the Debtors or

against any property of the Debtors’ bankruptcy estate, of a judgment obtained before the

commencement of the Debtors’ cases; or (c) any act to obtain possession of property of or from

the Debtors’ bankruptcy estate, or to exercise control over property of the Debtors’ bankruptcy

estate.

Dated: June 7 L. 2010

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